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8                            UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEVADA
9
     Aracely Pacheco Moran,                            Case No. 2:20-cv-01316-JAD-EJY
10
                   Petitioner,
11
            v.                                         Stipulation for Extension of Time
12                                                     and Proposed Order
     Chad Wolf, Acting Secretary of Homeland
13   Security; Matthew T. Albence, Deputy              (First Request)
     Director and Senior Official Performing the
14   Duties of the Director for U.S. Immigration
     and Customs Enforcement; Kenneth T.
15   Cuccinelli, Senior Official Performing the
     Duties of Director, U.S. Citizenship and                    ECF No. 30
16   Immigration Services; Unknown Does
     Defendants 1-100, inclusive,
17
                   Respondents.
18

19          Defendants Chad Wolf, Matthew T. Albence and Kenneth T. Cuccinelli

20   (“Defendants”) and Plaintiff Aracely Pacheo Moran (“Plaintiff”) hereby stipulate and agree

21   that Defendants may have a seven-day extension of time, from November 2, 2020 to

22   November 9, 2020, to respond to Plaintiff’s Opposition to Defendants’ Motion to Dismiss

23   Plaintiff’s Amended Complaint. (ECF No. 28). This motion is brought pursuant to Federal

24   Rule of Civil Procedure 6(b)(1)(A).

25          An extension is warranted because defense counsel’s office is currently short-staffed,

26   and the limited staff that is available works part-time from home where computer

27   connectivity issues are prevalent. The office also has been inundated with emergency

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1    COVID-19-related motions, and defense counsel is assisting with responding to that
2    litigation. The deadlines in those cases are usually shortened and require prompt action.

3    Under the circumstances, good cause exists to extend the time for Defendants to respond to

4    Plaintiff’s Opposition to Defendants’ Motion to Dismiss Plaintiff’s Amended Complaint.

5    See Fed. R. Civ. P. 6(b)(1)(A) (“When an act may or must be done within a specified time,

6    the court may, for good cause, extend the time…with or without motion or notice if the court

7    acts, or if a request is made, before the original time or its extension expires[.]”) (emphasis

8    added).

9           This is Defendants’ first request for an extension of time. See LR IA 6-1(a) (must

10   advise of previous extensions). Defense counsel contacted Plaintiff’s counsel regarding this

11   extension request, and he has advised that he does not oppose the request. This stipulation

12   is made in good faith and not for the purpose of undue delay.

13          Respectfully submitted this 2nd day of November 2020.

14    MILLENNIUM LEGAL LLC                              NICHOLAS A. TRUTANICH
                                                        United States Attorney
15    /s/ Brian J. Ramsey__________
      BRIAN J. RAMSEY, ESQ.                             /s/ Holly A. Vance______
16    MILLENNIUM LEGAL LLC                              HOLLY A. VANCE
      Attorney for Plaintiff                            Assistant United States Attorney
17                                                      Attorneys for Respondents
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19   DATED:                                      IT IS SO ORDERED:
20
                                                 _________________________________
21                                               UNITED STATES DISTRICT JUDGE
                                                 U.S. District
                                                 UNITED        Judge Jennifer
                                                            STATES            A. Dorsey JUDGE
                                                                       MAGISTRATE
22                                               Dated: November 5, 2020
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